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 8                                 UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                        No. 2:13-cr-00016 GEB DAD P
12                       Respondent,
13          v.
                                                      ORDER
14   CARLOS ALEJANDRO MENDOZA-
     VILLANUEVA,
15
                         Movant.
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18          Movant Carlos Alejandro Mendoza-Villanueva, through appointed counsel, requests
19   withdrawal of his motion filed pro se on June 25, 2014, pursuant to 28 U.S.C. § 2255. For good
20   cause shown, movant’s request will be granted. The limited appointment of counsel for the
21   purpose of informing the district court of this matter (see ECF No. 76), is now terminated.
22          Accordingly, IT IS HEREBY ORDERED that:
23          1. Movant’s request (ECF No. 84) to withdraw his motion filed pursuant to 28 U.S.C. §
24   2255, is granted;
25          2. The Clerk of Court is directed to indicate on the court’s docket the withdrawal of
26   movant’s motion to vacate, set aside or correct his sentence filed pursuant to 28 U.S.C. § 2255
27   (ECF No. 65), and to close that portion of this case; and
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                                                      1
        Case 2:13-cr-00016-GEB Document 85 Filed 11/19/14 Page 2 of 2


 1          3. The limited appointment of counsel to address these matters (ECF No. 76) is

 2   terminated, without effect on counsel’s ongoing appointment to represent movant before the

 3   Ninth Circuit Court of Appeals.

 4   Dated: November 19, 2014

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